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UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA
(MIAMI, DIVISION)
In re: : CASE NO.: 18-10559-LMI
EULOGIO GUERRERO CEDENO, : CHAPTER 7

Debtor. ;
/

 

TRUSTEE’S EX-PARTE MOTION FOR ORDER AUTHORIZING EMPLOYMENT
OF APPRAISER FOR TRUSTEE NUNC PRO TUNC TO FEBRUARY 19, 2018

Robert A. Angueira, Trustee, files this Ex-Parte Motion For Order Authorizing
Employment of Appraiser for Trustee, Authorizing Payment to Appraiser, and Directing Debtor
And Others to Allow Appraiser to lnspect Premises, and states:

l. The Debtor commenced this chapter 7 case by filing a voluntary petition on
January 16, 2018. The movant has been appointed as Trustee.

2. The Debtor has property of the estate located at the Debtor’s Residence, located at
7080 W Z"d Way, Hialeah, FL 33014.

3. 'I`he Trustee requires the services of an appraiser in order to ascertain the actual
petition-date fair market values of all assets owned by the Debtor.

4. The Trustee believes it is necessary to employ an appraiser to perform the
following tasks: (a) conduct a complete inspection and appraisal of the contents of the Debtor’s
Residence, and (b) provide a report to the Trustee with photographs and/or video.

5. Martin Claire of Martin Claire & Co. LLC has substantial experience in
conducting home and business appraisals and has an expertise in evaluating personal property
values. This expertise would assist the Trustee in determining the value of the Debtor’s

property for the benefit of the creditors of the estate.

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6. The Trustee proposes to employ Mr. Claire and his company as an appraiser, at a
maximum rate of compensation of $lOO/hour. The Trustee seeks authority to pay the appraiser,
when funds are available, up to $400.00, at $lOO/hour, for its services in appraising the property
located at the Debtors’ Residence. Attached as Exhibit A is a copy of the appraiser’s affidavit
reflecting its disinterestedness.

7. The Trustee believes it is necessary that the inspection and appraisal be performed
without prior notice or warning to the Debtor, in order to relieve the Debtor from any temptation
to remove or conceal assets.

8. To conduct a complete appraisal of the property located at the Debtor’s
Residence, the appraiser must be authorized to open and examine the contents of all containers,
whether or not sealed or locked, including closets, drawers, file cabinets, safes, canisters, boxes,
bags, luggage, storage units, and motor vehicles.

WHEREFORE, the Trustee seeks the entry of an order authorizing the employment of
Martin Claire and Martin Claire & Co. LLC as appraiser nunc pro tunc to February 19, 2018,
authorizing the Trustee to pay the appraiser a maximum of $400.00 dollars (after sufficient funds
are in the Trustee’s account) for the appraisal of the property at the Debtors’ Residence, and
directing any and all persons at the Debtors’ Residence to allow the inspection and appraisal to
be conducted.

Dated: February l9, 2018

ROBERT A. ANGUEIRA
Chapter 7 Trustee

16 SW lSt Avenue

Miami, FL 33130

Tel. (305) 263-3328

e-mail trustee@rabankruvtcv.com

By /s/
ROBERT A. ANGUEIRA
Chapter 7 Trustee
Florida Bar No. 0833241

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UNITED STATES BANKRUPTCY COURT
SOUTHERN DlSTR|CT OF FLOR|DA
MlAMl DlVlSlON

CASE 18-10559~lell
Eulogio Guerrero Cedeno

Chapter 7

Debtor,
AFF|DAV|T OF APPRA|SER

BEFORE ME, the undersigned authority, this date personally appeared Martin Claire who after being
duly swom, deposes and states as follows:

1. That l am Martin Claire an appraiser employed by Martin Claire & Co LLC.
Located at: 1835 E. HALLANDALE BEACH BLVD. HALLANDALE BEACH FLOR|DA 33009

2. l am willing to accept employment by the Trustee, on the basis set forth in the annexed
application l do not have an interest adverse to the Trustee or the Estate in regards to the matters for
which | am to be employed, and l am a disinterested person within the meaning of 11 U.S.C. Section 101.

3. l do not have a pre-petition or other claim against the Estate.

4. l have not received a retainer from the Debtor. the Estate or from a third party.

5. l do not have any interests adverse to the Trustee, the Estate or the Debtor.

FURTHER AFF|ANT SAYETH NAUGHT.

By: "
Nl TlN CLA|RE
MART|N CLAlRE & CO,LLC.

swoRN To AND suschBED before me this /? day of Fep_ ,2018

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February 24. 2019

 

 

 

 

 

 

 

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CERTIFICATE OF SERVICE
I CERTIFY that a true and correct copy of the foregoing was served by U.S. mail on this
19‘h day of February, 2018, to the Debtor.
I CERTIFY that a true and correct copy of the foregoing Was served via the notice of

Electronic Filing on this 19th clay of February, 2018, to:

o Bouavone Amphone bamphone@rasflaw.com, bamphone@rasflaw.com

o Robert A Angueira trustee@rabankruptcy.com,
fl79@ecfcbis.com;raa@trustesolutions.net;tassistant@rabankruptcy.com;richard@rabank
ruptcy.com;lillian@rabankruptcy.com

o Haven Del Pino haven@delpinolaw.com,
lalmestica@delpinolaw.com;joseph@delpinolaw.com;mvelez@delpinolaw.corn

o Office of the US Trustee USTPRegion21 .MM.ECF@usdoj.gov

ROBERT A. ANGUEIRA
Chapter 7 Trustee

16 SW 1Sl Avenue

Miami, FL 33130

Tel. (305) 263-3328

e-mail trustee@rabankruptcv.com

By /s/
ROBERT A. ANGUEIRA
Chapter 7 Trustee
Florida Bar No. 0833241

